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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

DYSON, INC. and                                    )
DYSON TECHNOLOGY LIMITED,                          )
                                                   )
               Plaintiffs, Counterclaim-           )
               Defendants                          )
                                                   )
                                                       Case No. 1:14-cv-00779
       v.                                          )
                                                   )
                                                       Judge John W. Darrah
SHARKNINJA OPERATING LLC and                       )
SHARKNINJA SALES COMPANY,                          )
                                                       JURY TRIAL DEMANDED
                                                   )
               Defendants, Counterclaim-           )
               Plaintiffs.

    SHARKNINJA’S MOTION FOR LEAVE TO FILE MOTION FOR LETTERS OF
        REQUEST FOR THE DEPOSITIONS OF CERTAIN INDIVIDUALS
          IN THE UNITED KINGDOM, SINGAPORE, AND DENMARK

       Pursuant to the Court’s Order of April 28, 2016 (Dkt. 218), SharkNinja respectfully

moves this Court for leave to file a motion for letters of request for the depositions of certain

individuals in the United Kingdom, Singapore, and Denmark. A copy of the proposed motion is

attached as Exhibit 1.

       SharkNinja submits that good cause supports leave to file this motion. In brief, there are

three named inventors of the asserted patents who are no longer employed by Dyson. These

inventors reside in the United Kingdom, Singapore, and Denmark. Counsel for Dyson (who also

represents the ex-Dyson inventors) has indicated that they are refusing to appear for deposition

voluntarily. Accordingly, SharkNinja respectfully requests this Court to issue Letters of Request

to the Central Authorities of the United Kingdom, Singapore, and Denmark.

       Counsel for SharkNinja inquired as to whether Dyson would oppose this motion, but

Dyson did not take a position. Pursuant to the Court’s Order of April 28, 2016 (Dkt. 218),
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SharkNinja respectfully requests that the Court grant SharkNinja leave to file the attached

motion.



Dated: July 15, 2016                             Respectfully submitted,



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                                                 Company




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                                CERTIFICATE OF SERVICE

       I hereby certify that on July 15, 2016, the foregoing document was filed electronically

through the Court’s Electronic Case Filing System. Service of this document is being made upon

all counsel of record in this case by the Notice of Electronic Filing issued through the Court’s

Electronic Case Filing System on this date.



                                                   /s/ John C. Evans
                                                   An attorney for Defendants SharkNinja
                                                   Operating, LLC and SharkNinja Sales
                                                   Company
